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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF IOWA

SUSAN K. VAN METRE,
Plaintiff,
VS.

WRIGHT MEDICAL TECHNOLOGY,
INC.,

Defendant.

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No. 3:19-cv-00078-JEG-HCA

NOTICE OF DISMISSAL WITHOUT PREJUDICE

COMES NOW the Plaintiff, by and through her undersigned counsel, and pursuant to

Federal Rule of Civil Procedure 41(a)(1)(A)(i), hereby gives notice of her Dismissal Without

Prejudice as to each and every claim asserted against the Defendant in the above entitled cause.

Respectfully submitted,

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By:___/s/ Thomas C. Verhulst
Thomas C. Verhulst AT0008125

/s/ Jordan M. Taisma
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CERTIFICATE OF SERVICE

I hereby certify that on November 7, 2019, the foregoing pleading was filed
electronically with the Clerk of Court using the CM/ECF system. Notice of this filing will be
sent to Defendant’s counsel, by operation of the Court’s electronic filing system.

/s/ Thomas C. Verhulst

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